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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

        Plaintiff,

v.                                                           Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

        Defendants.


         JOINT STIPULATION REGARDING VISUAL ARTISTS RIGHTS ACT

        The parties, through undersigned counsel, hereby stipulate as follows:

        1.      Defendant Meow Wolf provided a 90-day notice to Plaintiff Lauren Oliver under

17 USC §113(d)(2), but the parties dispute whether the artwork can be removed “without

destruction, distortion, mutilation, or other modification of the work as described in section

106A(a)(3).”

        2.      The parties expect the issue of whether or not the artwork can be removed without

destruction, distortion, mutilation, or other modification as described in section 106A(a)(3) to be

decided at trial.

        3.      Defendant Meow Wolf agrees not to remove the artwork until after final resolution

of this litigation, including appeals.

        4.      If Plaintiff Lauren Oliver fails to prove that removal of the artwork will destroy,

distort, mutilate, or modify the artwork as described in section 106A(a)(3), Plaintiff shall have

thirty (30) days after final appeal, or the time for final appeal has expired, to remove the artwork
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at Plaintiff’s own expense and with reasonable notice to and scheduling coordination with Meow

Wolf.

        5.     Aside from the terms outlined above, both parties reserve all rights, claims and

defenses.


                                                   Respectfully submitted,

                                                   ERICKSEN ARBUTHNOT

                                                   /s/ Jesse A. Boyd
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                                                   Attorney for Plaintiff Lauren Adele Oliver




Approved by:

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Attorneys for Defendants Meow Wolf, Inc.
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                                CERTIFICATE OF SERVICE

       I CERTIFY that on June 8, 2021, I filed the foregoing electronically through the CM/ECF

system, which caused the following parties or counsel of record to be served by electronic means:

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